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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

October 2015 Grand Jury

UNITED STATES OF AMERICA, No. CR 15- CRI 5 - 06 8 4

Plaintifé, INDICTMENT
Vv. {18 U.S.C. § 1347: Health Care
Fraud; 18 U.S.C. § 2(b): Causing
RODERICK BELMONTE CONCEPCION, an Act to be Done]
Defendant.

 

 

The Grand Jury charges:

COUNTS ONE THROUGH FOUR
[18 U.S.C. §§ 1347, 2(b)]
A. INTRODUCTORY ALLEGATIONS
At all times relevant to this Indictment:
1. JH Physical Therapy, Inc. (“JH Physical Therapy”) was

a clinic located in Walnut, California, within the Central

District of California.

2. Defendant RODERICK BELMONTE CONCEPCION (“CONCEPCION” )
was an occupational therapist (“OT”) licensed to practice in

California and an enrolled Medicare provider. Defendant

 

 

 

 
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CONCEPCION was the owner and operator of JH Physical Therapy.

The Medicare Program

3. Medicare was a federal health care benefit program,
affecting commerce, that provided benefits to individuals who
were 65 years and older or disabled. Medicare was administered
by the Centers for Medicare and Medicaid Services (“CMS”), a
federal agency under the United States Department of Health and
Human Services. Medicare was a “health care benefit program” as

defined by Title 18, United States Code, Section 24(b).

4. Individuals who qualified for Medicare benefits were
referred to as Medicare “beneficiaries.” Each beneficiary was
given a unique health insurance claim number (“HICN”), Health

care providers who provided medical services that were
reimbursed by Medicare were referred to as Medicare “providers.”

5. CMS contracted with regional contractors to certify
providers for participation in the Medicare program and monitor
their compliance with Medicare standards, to process and pay
Medicare claims.

6. To participate in Medicare, a provider was required to
submit an application in which the provider agreed to comply
with all Medicare-related laws and regulations. If Medicare
approved a provider’s application, Medicare assigned the
provider a Medicare “provider number,” which was used for

processing and payment of claims.

7. A health care provider with a Medicare provider number
could submit claims to Medicare to obtain reimbursement for

services rendered to Medicare beneficiaries.

 

 
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8. Most providers submitted their claims electronically
pursuant to an agreement they executed with Medicare in which
the providers agreed that: (a) they were responsible for all
claims submitted to Medicare by themselves, their employees, and
their agents; (b) they would submit claims only on behalf of
those Medicare beneficiaries who had given their written
authorization to do so; and (c) they would submit claims that
were accurate, complete, and truthful.

9. Medicare reimbursed providers only for services,
including occupational therapy, that were medically necessary to
the treatment of a beneficiary’s illness or injury, were
prescribed by a beneficiary’s physician or a qualified
physician’s assistant acting under the supervision of a
physician, and were provided in accordance with Medicare
regulations and guidelines that governed whether a particular
service or product would be reimbursed by Medicare.

10. Medicare required that occupational therapy services
be performed by (a) a physician, (b) an OT, or (c) an
occupational therapist assistant (“OTA”) acting under the direct
supervision of a physician or OT. “Direct supervision” meant
that the doctor or OT was physically present in the same office
suite and immediately available to provide assistance and
direction throughout the time the OTA was performing
occupational therapy services. Occupational therapy services
provided by aides or occupational therapy students were not

reimbursable by Medicare, regardless of the level of

supervision.

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11. Medicare did not cover acupuncture or reimburse
providers for acupuncture services. Medicare did not cover
massages unless they were therapeutic massages provided by a
licensed therapist as a part of the beneficiary’s plan of care.

12. A Medicare claim for payment was required to set
forth, among other things, the following: the beneficiary’s name
and unique Medicare identification number; the types of services
provided to the beneficiary; the date that the services were
provided; and the name and Unique Physician Identification
Number (“UPIN”’) or National Provider Identifier (“NPI”) of the
physician who prescribed or ordered the services.

B. THE SCHEME TO DEFRAUD

13. Beginning in or around May 2009, and continuing
through in or around December 2012, in Los Angeles County,
within the Central District of California, and elsewhere,
defendant CONCEPCION, together with others known and unknown to
the Grand Jury, knowingly, willfully, and with intent to
defraud, executed, and attempted to execute, a scheme and
artifice: (a) to defraud a health care benefit program, namely
Medicare, as to material matters in connection with the delivery
and payment for health care benefits, items, and services; and
(b) to obtain money from Medicare by means of material false and
fraudulent pretenses and representations and the concealment of
material facts in connection with the delivery of and payment

for health care benefits, items, and services.

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Cc. MEANS TO ACCOMPLISH THE FRAUDULENT SCHEME

14. The fraudulent scheme operated, in substance, in the

following matter:

a. On or about May 28, 2009, defendant CONCEPCION
opened an individual account at Wilshire State Bank, account
number ****7614 (the “7614 Account”). Defendant CONCEPCION was
an authorized signor on this account.

b. On or about August 4, 2009, defendant CONCEPCION
executed and submitted an enrollment application to Medicare as
an individual non-physician practitioner (occupational therapist
in private practice), with a practice location of 20265 Valley
Blvd., Suite O, Walnut, California (“Valley Blvd, Location”).

Cc. On or about August 4, 2009, defendant CONCEPCION
executed and submitted an Electronic Funds Transfer Agreement
(“EFT”) to Medicare to receive payment by electronic transfers
into the 7614 Account.

d. On or about August 20, 2009, JH Physical Therapy

was incorporated in the State of California by defendant

CONCEPCION.

e, On or about September 17, 2009, defendant
CONCEPCION opened a corporate bank account for JH Physical
Therapy at Wilshire State Bank, account number ****8440 (the
“8440 Account”). Defendant CONCEPCION was an authorized signor
on this account.

£. On or about October 1, 2009, defendant CONCEPCION
executed and submitted an enrollment application to Medicare on
behalf of JH Physical Therapy, with a practice location of 355

South Lemon Avenue, Suite G., Walnut, California (“Lemon Avenue
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Location”). Defendant CONCEPCION signed the Medicare
application as President of JH Physical Therapy.

g. On or about October 1, 2009, defendant
CONCEPCION, on behalf of JH Physical Therapy, executed and
submitted an EFT to Medicare to receive payment by electronic

transfers into the 8440 Account.

h. On or about October 1, 2009, defendant CONCEPCION
executed and submitted a reassignment of his individual non-
physician practitioner Medicare benefits to JH Physical Therapy.

1. On or about December 21, 2009, defendant
CONCEPCION executed and submitted to Medicare, on behalf of JH
Physical Therapy, an Electronic Data Interchange Enrollment
Agreement (“EDI”) in his capacity as President.

j. Defendant CONCEPCION hired occupational
therapists to perform occupational therapy, including
evaluations, re-evaluations, and therapeutic exercises or
procedures, for Medicare beneficiaries at JH Physical Therapy.

k, While at JH Physical Therapy, Medicare
beneficiaries would often receive only massage and acupuncture

(services not covered by Medicare) from individuals not licensed

to perform occupational therapy.

1. For these Medicare beneficiaries that received
only massage and acupuncture, defendant CONCEPCION, together
with others known and unknown to the Grand Jury, submitted and
caused the submission of claims to Medicare for reimbursement
for occupational therapy services that were never provided.

These beneficiaries included, among others, P.S., 0.S.L., and

S.1I.8.

 

 
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m. On some occasions, defendant CONCEPCION, together
with others known and unknown to the Grand Jury, submitted and
caused the submission of claims to Medicare for reimbursement
for occupational therapy services under his name and his
provider number, or the name of other OTs and their provider
numbers, as the OT who purportedly performed the occupational
therapy services referenced in the claims to Medicare, even
though, as defendant CONCEPCION and others known and unknown to
the Grand Jury well knew, defendant CONCEPCION and the other OTs
could not have performed the occupational therapy services
because they were not present at JH Physical Therapy when the
purported services occurred. These beneficiaries included,
among others, P.S., M.J.H.S., B.L., G.A.K., M.L.C., K.I1.Y.,

B.L., B.S.C., M.J.P., B.L., and J.Y.K.

15. Between in or around October 2, 2009, and in or around
December 14, 2012, defendant CONCEPCION, together with others
known and unknown to the Grand Jury, submitted and caused the
submission of approximately $5,339,236 in claims to Medicare,
resulting in Medicare payments of approximately $3,721,572.

D. THE EXECUTION OF THE FRAUDULENT SCHEME

16. On or about the dates set forth below, within the
Central District of California, and elsewhere, defendant
CONCEPCION, together with others known and unknown to the Grand
Jury, for the purpose of executing and attempting to execute the
fraudulent scheme described above, knowingly and willfully

submitted and caused to be submitted to Medicare for payment the

following false and fraudulent claims:

 

 
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ONE B.S. 55111102 Occupational | 01/24/2011 | 01/25/2011 $41.89
5582790 Therapy Re-
Evaluation,
97004
TWO M.J.H.S. 55111132 Occupational | 11/17/2011 | 11/18/2011 $39.60
2575210 Therapy Re-
Evaluation,
97004
THREE M.J.H.S. 55111210 Occupational | 03/24/2012 | 04/17/2012 539.60
7690000 Therapy Re-
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4195800 Therapy

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97003

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04/11/2012 | 04/24/2012 $69.60

 

 

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United States Department of Justice

DIIDRI ROBINSON
Acting Assistant Chief, Fraud Section
United States Department of Justice

BLANCA QUINTERO
Trial Attorney, Fraud Section
United States Department of Justice

 

A TRUE BILL

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Foreperson

 

 
